                                                 UNITED STATES BANKRUPTCY COURT
                                                          FOR THE DISTRICT OF ARIZONA

                                                                           Minute Entry
Hearing Information:
                              Debtor:   BEVERLY BUCKLEY
                  Case Number:          2:12-BK-19495-GBN                            Chapter: 7

           Date / Time / Room:          WEDNESDAY, AUGUST 13, 2014 10:30 AM 6TH FLOOR #602

          Bankruptcy Judge:             GEORGE B. NIELSEN
               Courtroom Clerk:         JENNIFER LOWRY
                Reporter / ECR:         KAYLA COLASONT                                                                             0.00


Matter:
              ADV: 2-13-00950
              QUINTON A BUCKLEY vs ROY V. ZEAGLER
              ORAL ARGUMENT ON PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
              R / M #:        43 / 0


Appearances:
        RONALD J. ELLETT, ATTORNEY FOR QUINTON A BUCKLEY
        PAUL A LOUCKS, ATTORNEY FOR ROY V. ZEAGLER


Proceedings:                                                                                                                1.00

        The Court shared its initial inclination on the matter.

        Mr. Loucks argued his client's position and reviewed previous minute entries as well as the state court judgment.

        The Court responded.

        Mr. Ellett replied and discussed the state court judgment.

        Mr. Loucks reviewed the appeal that was filed and asked that the court find that the order was a final judgment.

        Mr. Ellett responded that the appeal was filed after the judgment was entered.



        THE COURT PLACED IT'S DECISION ON THE RECORD. ANYONE WISHING A COPY MAY OBTAIN A TRANSCRIPT.



        COURT: IT IS ORDERED GRANTING THE MOTION FOR SUMMARY JUDGMENT. THE COURT AUTHORIZES THE ENTRY OF JUDGMENT FOR
        THE PLAINTIFF IN THIS ADVERSARY AND AGAINST THE DEFENDANT. MR. ELLETT IS DIRECTED TO UPLOAD A FORM OF ORDER AND
        SERVE A COURTESY COPY ON DEFENDANT'S COUNSEL.



        Mr. Ellett discussed the possibility of the defendant appealing.

        The Court responded and asked if there will be further proceedings as to the merits of the adversary complaint.

        Mr. Ellett replied.

        The Court suggested a 14 day stay.



        COURT: IT IS ORDERED SETTING A STATUS HEARING ON SEPTEMBER 30, 2014 AT 9:30 AM.




     Case 2:13-ap-00950-GBN                                Doc 50 Filed 08/13/14 Entered 08/13/14 13:16:39 Desc
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